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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


      BABY DOE et al.,

                      Plaintiffs,
                                                               Civil Action No. 3:22-cv-49
      v.

      MAST et al.,

                      Defendants.


             FEDERAL DEFENDANTS’ MOTION FOR PROTECTIVE ORDER

            Pursuant to Fed. R. Civ. P. 26(c), nominal Defendants the United States Secretary

     of State Antony Blinken and United States Secretary of Defense General Lloyd Austin

     (“Nominal Defendants”) respectfully move the Court for entry of a protective order

     forbidding the discovery sought by defendant Richard Mast’s First Set of Requests for

     Production (“RFPs”) to Nominal Defendants, served pursuant to Fed. R. Civ. P. 34. The

     grounds for this Motion are set forth in the accompanying Memorandum in Support of

     Nominal Defendants’ Motion. Nominal Defendants, through undersigned counsel, certify

     that Nominal Defendants have in good faith conferred with Richard Mast, through counsel,

     in an effort to resolve this dispute without court action but were unable to reach a

     resolution.

     April 17, 2023                              Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Principal Deputy Assistant Attorney General

                                                 ALEXANDER K. HAAS
                                                 Director, Federal Programs Branch
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                                       ANTHONY J. COPPOLINO
                                       Deputy Director, Federal Programs Branch

                                       /s/ Kathryn L. Wyer
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